Case 6:11-cv-01735-ACC-DAB Document 7 Filed 01/25/12 Page 1 of 2 PageID 24




                                                    IN THE DISTRICT COURT IN AND FOR
 1
                                                    THE MIDDLE DISTRICT OF FLORIDA
 2                                                  ORLANDO DIVISION

 3

 4                                                            CASE NO. 6:11-cv-01735-ACC-DAB

 5    SHERRIE CALABRESE,
 6
             Plaintiff,
 7
      v.
 8

 9
      HUNTER WARFIELD, INC.,

 10         Defendant.
      __________________________________________/
 11

 12
             NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of the District

 13   Court of Florida Plaintiff’s Dismissal of Case With Prejudice, a copy of which is herewith served
 14
      upon Defendant.
 15
                            RESPECTFULLY SUBMITTED this 25th Day of January, 2012.
 16

 17
                                                 By:s/Alex Weisberg
 18                                                Alex Weisberg
                                                   WEISBERG & MEYERS, LLC
 19                                                5722 South Flamingo Road, #656
                                                   Cooper City, FL 33330
 20
                                                   954 337 1885
 21                                                866 775 3666 facsimile
                                                   aweisberg@AttorneysForConsumers.com
 22                                                Attorney for Plaintiff
 23

 24   Filed electronically on this 25th Day of January, 2012, with:

 25   United States District Court CM/ECF system
 26

 27
      By: s/Dana Patch
 28       Dana Patch



                                              Notice of Dismissal - 1
Case 6:11-cv-01735-ACC-DAB Document 7 Filed 01/25/12 Page 2 of 2 PageID 25




 1                       CERTIFICATE OF SERVICE VIA REGULAR MAIL
 2
             I, Alex D. Weisberg, certify that a true and correct copy of the foregoing was served upon
 3

 4    Warren Stoller, General Counsel, Hunter Warfield, Inc., 4620 Woodland Corporate Blvd.,

 5    Tampa FL 33614-2415, by depositing the same on January 25, 2012, in the U.S. Mail in an
 6
      envelope with first class postage prepaid thereon.
 7

 8

 9                                                         By: s/ Alex Weisberg
 10
                                                           ALEX D. WEISBERG
                                                           FBN: 0566551
 11                                                        WEISBERG & MEYERS, LLC
                                                           ATTORNEYS FOR PLAINTIFF
 12                                                        5722 S. Flamingo Rd, Ste. 656
 13
                                                           Cooper City, FL 33330
                                                           (954) 212-2184
 14                                                        (866) 577-0963 fax
                                                           aweisberg@attorneysforconsumers.com
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                                              Notice of Dismissal - 2
